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   7
   8                      UNITED STATES DISTRICT COURT

   9                     CENTRAL DISTRICT OF CALIFORNIA

 10
 11
       UNITED STATES OF AMERICA,                CR 04-732-RSWL-1
 12
 13                   Plaintiff,                ORDER re: Defendant’s
                                                Motion for Compassionate
 14          v.                                 Release/Reduction of
                                                Sentence Pursuant to 18
 15                                             U.S.C. § 3582(c)(1)(A)
       RAY A. MAXWELL,                          [1225]
 16
                      Defendant.
 17
 18          Currently before the Court is Defendant Ray A.
 19    Maxwell’s (“Defendant”) Motion for Compassionate
 20    Release/Reduction of Sentence Pursuant to 18 U.S.C. §
 21    3582(c)(1)(A) (the “Motion”) [1225].
 22          Having reviewed all papers submitted pertaining to
 23    the Motion, the Court NOW FINDS AND RULES AS FOLLOWS:
 24    the Court DENIES Defendant’s Motion.
 25                                 I.   BACKGROUND
 26          On March 27, 2007, Defendant pled guilty to one
 27    count of conspiracy to commit bank robbery in violation
 28    of 18 U.S.C. § 371; one count of attempted armed bank
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   1   robbery and two counts of armed bank robbery in
   2   violation of 18 U.S.C. § 2113(a), (d); and one count of
   3   discharging a firearm during a crime of violence in
   4   violation of 18 U.S.C. § 924(c)(1)(A)(iii).                  See Plea
   5   Agreement, ECF No. 544; Minutes of Mot. Hr’g and Change
   6   of Plea Hr’g 2, ECF No. 556.             This Court sentenced
   7   Defendant to a term of 360 months in prison on May 5,
   8   2008.     J. and Probation/Commitment Order 1, ECF No. 884.
   9   Defendant appealed from the judgment of conviction and
 10    sentence, and the Ninth Circuit affirmed.                 See United
 11    States v. Maxwell, 360 F. App’x 896, 898 (9th Cir.
 12    2009).
 13          In 2010, Defendant filed a Motion Under 28 U.S.C. §
 14    2255 to Vacate, Set Aside, or Correct Sentence by a
 15    Person in Federal Custody [1014], which the Court denied
 16    [1046].     The Court also denied [1051] Defendant’s Rule
 17    59(e) Motion for Reconsideration to Alter or Amend
 18    Judgment [1049].        In 2014, Defendant filed another
 19    Application Under 28 U.S.C. § 2255 to Vacate, Set Aside,
 20    or Correct Sentence by a Person in Federal Custody
 21    [1064], which the Court dismissed [1070].                 The Court
 22    subsequently denied [1077] Defendant’s Petition for
 23    Reconsideration [1072].           In 2016, Defendant filed his
 24    third § 2255 motion [1168], which the Court also denied
 25    [1178].     On June 27, 2019, Defendant filed a Motion to
 26    Reopen Case [1216].         The Court denied [1217] that motion
 27    because it was, in substance, a successive habeas corpus
 28    petition filed without pre-certification by the Ninth

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   1   Circuit.      See Order re: Pet’r’s Mot. to Reopen Case and
   2   to Appoint Counsel 2:11-5:2, ECF No. 1217.
   3         Defendant filed the instant Motion [1225] on July
   4   29, 2020, and an Addendum to Motion [1228] on August 27,
   5   2020.    The government opposed [1229] on September 9,
   6   2020, and Defendant filed a response and request for
   7   appointment of counsel [1237] on September 22, 2020.
   8   Defendant is currently serving his sentence at FCI
   9   Victorville Medium I, and his projected release date is
 10    March 12, 2030.        United States’ Resp. to Def.’s Mot.
 11    (“Opp’n”) 3:12-13, ECF No. 1229.
 12                               II.    DISCUSSION
 13    A.    Legal Standard
 14          The First Step Act, Pub. L. No. 115-391, 132 Stat.
 15    5194, was enacted in 2018 and permits a defendant to
 16    directly petition the district court for a sentence
 17    reduction under the compassionate release statute.                      See
 18    18 U.S.C. § 3582(c)(1)(A).               18 U.S.C. § 3582(c)(1)(A)
 19    establishes a three-step process for courts to evaluate
 20    a defendant’s request for compassionate release.                    A
 21    defendant must establish each of the three prongs by a
 22    preponderance of the evidence.               See United States v.
 23    Resnik, No. CR 16-201 PA, 2020 WL 6803250, at *2 (C.D.
 24    Cal. Oct. 13, 2020) (citing United States v. Sprague,
 25    135 F.3d 1301, 1306-07 (9th Cir. 1998)).
 26          First, a defendant must exhaust administrative
 27    remedies either by “exhaust[ing] all administrative
 28    rights to appeal a failure of the Bureau of Prisons to

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   1   bring a motion on the defendant’s behalf” or by waiting
   2   until thirty days have lapsed “from the receipt of such
   3   a request by the warden of the defendant’s facility” to
   4   reduce the term of imprisonment.               18 U.S.C. §
   5   3582(c)(1)(A).        Second, the district court evaluates
   6   whether “extraordinary and compelling reasons warrant
   7   such a reduction” and whether such a reduction “is
   8   consistent with applicable policy statements issued by
   9   the Sentencing Commission.”              Id.   Third, the court
 10    considers the sentencing factors outlined in “section
 11    3553(a) to the extent that they are applicable.”                    Id.
 12    B.    Discussion
 13          1.    Request for Appointment of Counsel
 14          In his response to the government’s Opposition,
 15    Defendant requests appointment of counsel “out of
 16    necessity in the middle of this pandemic.”                  Resp. to and
 17    Appointment of Counsel 1, ECF No. 1237.                Defendant
 18    states that, due to a nationwide lockdown of the Bureau
 19    of Prison’s (“BOP”) facilities, “no inmates have been
 20    permitted to access the law library to research or
 21    prepare legal document[s].”              Id.
 22          A defendant does not have a Sixth Amendment right
 23    to counsel when bringing a motion under 18 U.S.C. §
 24    3582(c).      United States v. Townsend, 98 F.3d 510, 512-13
 25    (9th Cir. 1996); see Pennsylvania v. Finley, 481 U.S.
 26    551, 555 (1987) (“[T]he right to appointed counsel
 27    extends to the first appeal of right, and no further.”).
 28    “Nor is there any statutory right to counsel in

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   1   connection with a motion brought under 18 U.S.C. §
   2   3582(c).”        U.S.A. v. Bond, No. LA CR94-00563 JAK, 2020
   3   WL 4340257, at *1 (C.D. Cal. Feb. 25, 2020).                  Because
   4   Defendant is not entitled to appointed counsel, and the
   5   Motion does not entail complex issues requiring
   6   assistance of counsel, Defendant’s request for
   7   appointment of counsel is DENIED.
   8         2.    Motion for Compassionate Release
   9               a.    Exhaustion of Administrative Remedies
 10          Defendant asserts that, before filing this Motion,
 11    Defendant “first tried to exhaust his administrative
 12    remedy by providing his counselor . . . the appropriate
 13    Request to Staff.”         Mot. for Compassionate
 14    Release/Reduction of Sentence Pursuant to 18 U.S.C. §
 15    3582(c)(1)(A) (“Mot.”) 1, ECF No. 1225.                The government
 16    contends that Defendant has not complied with the
 17    exhaustion requirement because he failed to wait the
 18    requisite thirty days after filing a request.                   Opp’n
 19    1:9-11, 11:23-24.         The government alleges, without any
 20    evidentiary support, that the warden received
 21    Defendant’s compassionate release request on July 2,
 22    2020.      Id. at 3:18-19.       By contrast, Defendant provides
 23    a copy of his compassionate release request to the
 24    warden, which is dated June 23, 2020.                See Inmate Req.
 25    to Staff, ECF No. 1225.           More than thirty days have
 26    elapsed between the date of Defendant’s request and the
 27    filing of the Motion, and the warden has not responded
 28    to his request.        Mot. 1.     Accordingly, in the absence of

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   1   evidence to the contrary, the Court assumes that
   2   Defendant has satisfied the exhaustion requirement for
   3   the purposes of this Order.
   4               b.   Extraordinary and Compelling Reasons
   5         According to the Sentencing Commission’s policy
   6   statement,1 “extraordinary and compelling reasons”
   7   warranting compassionate release may include a
   8   defendant’s medical conditions, age and other related
   9   factors, family circumstances, or “other reasons.”
 10    United States v. Habash, No. 1:15-cr-00286-DAD-BAM, 2020
 11    WL 6381586, at *4 (E.D. Cal. Oct. 30, 2020) (quoting
 12    U.S.S.G. § 1B1.13, cmt n.1 (A)-(D)).               A defendant
 13    seeking compassionate release based on a medical
 14    condition must show that he suffers from a serious
 15    condition or impairment “that substantially diminishes
 16    the ability of the defendant to provide self-care within
 17    the environment of a correctional facility and from
 18    which he or she is not expected to recover.”                  U.S.S.G. §
 19    1B1.13 cmt n.1 (A).
 20          Several courts have held that defendants’ medical
 21    conditions warrant compassionate release in light of the
 22          1Courts are split as to whether the Sentencing Commission’s
       policy statement is applicable. See United States v. Jones, No.
 23    94-cr-20079-EJD-1, 2020 WL 5359636, at *5 (N.D. Cal. Aug. 27,
 24    2020) (discussing that some courts have found the policy
       statement outdated, while others have found its terms to be
 25    binding). The Court need not, however, determine whether it is
       bound by the policy statement at this juncture. Even if the
 26    Court were permitted to consider circumstances beyond those
       detailed in the policy statement, the Court does not find
 27    extraordinary and compelling reasons here beyond those delineated
 28    in the policy statement.

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   1   COVID-19 pandemic.         See, e.g., United States v.
   2   Rodriguez, 451 F. Supp. 3d 392, 401 (E.D. Pa. 2020)
   3   (granting a motion for compassionate release based on
   4   the defendant’s underlying health conditions, the COVID-
   5   19 pandemic, and the defendant’s temporal proximity to
   6   his release date); United States v. Aburto, No. 18-cr-
   7   1975-GPC, 2020 WL 6802184, at *5 (S.D. Cal. Aug. 25,
   8   2020) (granting the defendant’s motion for compassionate
   9   release “[i]n light of the heightened medical risk the
 10    COVID-19 pandemic poses to [defendant] in particular”).
 11    But release must be based on a defendant’s particular
 12    susceptibility to COVID-19, not the generalized risks
 13    associated with the pandemic.             See Resnik, 2020 WL
 14    6803250, at *3 (noting that “general concern [about
 15    possible exposure to COVID-19] is shared by the public
 16    at large, as well as all incarcerated individuals”); see
 17    also United States v. Raia, 954 F.3d 594, 597 (3d Cir.
 18    2020) (“[T]he possibility that [COVID-19] may spread to
 19    a particular prison alone cannot independently justify
 20    compassionate release . . . .”).
 21          Here, Defendant argues that extraordinary and
 22    compelling reasons warrant compassionate release or a
 23    reduction in sentence because “older Black men” with
 24    preexisting medical conditions, like Defendant, are “at
 25    the highest risk of contracting [COVID-19] and dying
 26    from it.”      Mot. 2.     The government contends that
 27    Defendant has not offered any case-specific facts
 28    establishing his eligibility for compassionate release

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   1   or provided any evidence that he will be less likely to
   2   contract COVID-19 if released.             Opp’n 17:5-6, 19:21-25.
   3         Defendant does not identify specific medical
   4   conditions in his Motion, and a review of his medical
   5   records reveal none that render him at increased risk of
   6   serious illness as a result of COVID-19.                 See generally
   7   Ex. C to Opp’n (“BOP Health Problems”), ECF No. 1229-3.
   8   Among Defendant’s current medical conditions, only
   9   hypertension is on the CDC’s list of potential risk
 10    factors.      See People With Certain Medical Conditions,
 11    CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-
 12    extra-precautions/people-with-medical-conditions.html
 13    (Dec. 29, 2020).        But the CDC does not consider
 14    hypertension as a definitive risk factor, asserting only
 15    that there “might” be an increased risk.                 Id.    Multiple
 16    studies have reached different conclusions about the
 17    risk associated with hypertension.               Evidence Used to
 18    Update the List of Underlying Medical Conditions that
 19    Increase a Person’s Risk of Severe Illness from COVID-
 20    19, CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-
 21    extra-precautions/evidence-table.html (Nov. 2, 2020)
 22    (indicating that there is “[m]ixed [e]vidence” with
 23    respect to hypertension).            At this juncture, the Court
 24    cannot conclude that hypertension qualifies as a
 25    sufficiently serious condition that warrants
 26    compassionate release,2 particularly where Defendant
 27
             2Numerous courts have denied release for individuals whose
 28    only potential COVID-19 risk factor is hypertension. See, e.g.,

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   1   fails to show that his essential hypertension is a
   2   “serious condition” or that FCI Victorville is “unable
   3   to monitor and adequately treat his medical
   4   condition[].”       Habash, 2020 WL 6381586, at *4 (citation
   5   omitted); see also United States v. Sehorn, No. 95cr72
   6   WQH, 2020 WL 7342657, at *4 (S.D. Cal. Dec. 14, 2020)
   7   (“Chronic conditions, such as hypertension . . . , that
   8   can be managed in prison are not a sufficient basis for
   9   compassionate release.”).
 10          Defendant’s age is also not a significant risk
 11    factor that entitles him to compassionate release or a
 12    reduction in sentence.          While Defendant, at fifty-six
 13    years old, is more susceptible to the harms of COVID-19
 14    than those in younger age groups, he is not in the age
 15    group at highest risk of severe outcomes.                 See Older
 16    Adults, CDC, https://www.cdc.gov/coronavirus/2019-
 17    ncov/need-extra-precautions/older-adults.html (Dec. 13,
 18    United States v. Johnson, No. CR19-55RSM, 2020 WL 4495981, at *3
       (W.D. Wash. Aug. 4, 2020) (finding no extraordinary and
 19
       compelling reasons where the defendant, who suffered from
 20    hypertension, had “no other high-risk medical conditions”);
       United States v. Upshaw, No. 1:14-CR-00256-NONE, 2020 WL 5909512,
 21    at *5 (E.D. Cal. Oct. 6, 2020) (“[H]ypertension alongside the
       risk of contracting COVID-19, without more, is not a ‘serious’
 22    medical condition that would qualify a prisoner for compassionate
       release.”); United States v. Ackerman, No. CR 11-740-KSM-1, 2020
 23    WL 5017618, at *5 (E.D. Pa. Aug. 25, 2020) (collecting cases and
 24    stating that “[w]here, as here, there is no indication that the
       defendant’s hypertension cannot be properly controlled via
 25    medication or other appropriate medical care, courts routinely
       hold that compassionate release is not warranted”); United States
 26    v. Colbert, No. 99-80399, 2020 WL 3529533, at *2 (E.D. Mich. June
       30, 2020) (“Hypertension, a condition that affects about 46% of
 27    the U.S. adult population . . . [is] not [an] ‘extraordinary and
 28    compelling’ condition[].”).

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   1    2020) (stating that eighty percent of COVID-19 deaths
   2    reported in the United States have involved adults
   3    sixty-five years of age or older).
   4         Likewise, Defendant’s “race is not itself a risk
   5    factor” for serious illness from the virus.                 United
   6    States v. Scott, No. CR13-156 TSZ, 2020 WL 7043593, at
   7    *1 (W.D. Wash. Dec. 1, 2020); see also Jones, 2020 WL
   8    5359636, at *9 (“The Court may quickly dispose of [the
   9    defendant]’s argument to the extent it is based on his
  10    being African American.”).           Although it is true that the
  11    CDC has reported higher rates of hospitalization among
  12    some racial and ethnic minority groups, including non-
  13    Hispanic African Americans, the CDC has not indicated
  14    that those groups are inherently more susceptible to
  15    COVID-19.     See COVID-19 Hospitalization and Death by
  16    Race/Ethnicity, CDC, https://www.cdc.gov/coronavirus/
  17    2019-ncov/covid-data/investigations-discovery/
  18    hospitalization-death-by-race-ethnicity.html (Nov. 30,
  19    2020) (noting that “[r]ace and ethnicity are risk
  20    markers for other underlying conditions that affect
  21    health, including socioeconomic status, access to health
  22    care, and exposure to the virus related to occupation”).
  23         Further, the fact that Defendant has already
  24    contracted COVID-19 and apparently recovered, without
  25    requiring medical care for severe effects, weighs
  26    against finding the existence of extraordinary and
  27    compelling circumstances.           See Addendum to Mot. 1; BOP
  28    Health Problems 6.         “[G]ranting him release arguably

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   1    will not provide him with the protection sought by his
   2    [M]otion: relief from the risk of contracting COVID-19.”
   3    United States v. Alaniz, No. 15-cr-00329-DAD-BAM, 2020
   4    WL 4059581, at *5 (E.D. Cal. July 20, 2020) (citation
   5    omitted); see also United States v. Purry, No. 2:14-cr-
   6    00332-JAD-VCF, 2020 WL 2773477, at *2 (D. Nev. May 28,
   7    2020) (“The premise of [the inmates]’s request was that
   8    his release would help prevent him from contracting the
   9    virus.    That need vanished when [the inmate] tested
  10    positive for the virus.”).           Although Defendant argues
  11    that there is no reason to assume that the BOP will be
  12    able to protect him from reinfection, id., current
  13    guidance indicates that reinfection is unlikely.                   As the
  14    CDC states, “[c]ases of reinfection with COVID-19 have
  15    been reported, but remain rare.”              Reinfection with
  16    COVID-19, CDC, https://www.cdc.gov/coronavirus/2019-
  17    ncov/your-health/reinfection.html (Oct. 27, 2020).                    And
  18    the United States Department of Health and Human
  19    Services reports that “of the millions of patients who
  20    have recovered from COVID-19, which is caused by a
  21    coronavirus, only a handful have been confirmed as
  22    having gotten the disease again.              Based on the reported
  23    recurrence rate from the early stages of ongoing
  24    research, the chances of becoming reinfected appear to
  25    be very small.”        I Had COVID-19 in the Past, U.S. Dep’t
  26    of Health & Hum. Servs., https://combatcovid.hhs.gov/ive
  27    -had-covid-19 (last visited Jan. 26, 2021).
  28    ///

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   1         Lastly, Defendant relies on the existence of
   2    confirmed COVID-19 cases within BOP facilities,
   3    particularly in California.              See Mot. 3-4.     Although FCI
   4    Victorville Medium I, where Defendant is housed, is
   5    currently reporting 41 inmates and 21 staff members with
   6    confirmed active cases and, unfortunately, the deaths of
   7    2 inmates and 1 staff member, 626 inmates and 57 staff
   8    members have recovered from the virus.                See COVID-19
   9    Cases, Fed. Bureau of Prisons, https://www.bop.gov/
  10    coronavirus/ (last visited Jan. 28, 2021).                 This
  11    suggests that FCI Victorville is able to provide
  12    adequate medical care if Defendant experiences a rare
  13    reinfection.      Defendant has not demonstrated otherwise.
  14    And again, Defendant’s apparent recovery without
  15    suffering serious illness belies his argument.                    While
  16    the Court understands Defendant’s concerns, “[g]eneral
  17    concerns about possible exposure to COVID-19 do not meet
  18    the criteria for extraordinary and compelling reasons
  19    for a reduction in sentence set forth in the Sentencing
  20    Commission’s policy statement on compassionate release,
  21    U.S.S.G. § 1B1.13.”         United States v. Eberhart, 448 F.
  22    Supp. 3d 1086, 1090 (N.D. Cal. 2020).
  23         Because Defendant has not carried his burden to
  24    demonstrate that extraordinary and compelling reasons
  25    warrant his early release, he is not entitled to
  26    compassionate release or a sentence reduction under 18
  27    U.S.C. § 3582(c)(1)(A).          See United States v. Greenhut,
  28    No. 2:18-CR-00048-CAS-1, 2020 WL 509385, at *1 (C.D.

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   1    Cal. Jan. 31, 2020) (“The defendant bears the initial
   2    burden to put forward evidence that establishes an
   3    entitlement to a sentence reduction.” (citing Sprague,
   4    135 F.3d at 1306-07)).          Therefore, the Court need not
   5    address whether such relief would be consistent with
   6    consideration of the sentencing factors set forth in 18
   7    U.S.C. § 3553(a) or whether Defendant may present a
   8    danger to the safety of the community.
   9                             III.     CONCLUSION
  10         Based on the foregoing, the Court DENIES
  11    Defendant’s Motion.
  12
  13    IT IS SO ORDERED.
  14
  15    DATED: January 28, 2021                 /s/ Ronald S.W. Lew
                                              _________________________
                                            HONORABLE RONALD S.W. LEW
  16
                                            Senior U.S. District Judge
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